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                  Response Deadline: July 19, 2021, at 4:00 PM (Atlantic Standard Time)
                     Hearing Date: August 4, 2021, at 9:30 AM (Atlantic Standard Time)
      PLEASE CAREFULLY REVIEW THIS OBJECTION AND THE ATTACHMENTS HERETO
          TO DETERMINE WHETHER THE OBJECTION AFFECTS YOUR CLAIM(S).


                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

  In re:                                                           PROMESA
                                                                   Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3283-LTS
            as representative of                                   (Jointly Administered)
  THE COMMONWEALTH OF PUERTO RICO, et
  al.,                                                             This filing relates to the
                                                                   Commonwealth, HTA and ERS.
                                      Debtors. 1

  THREE HUNDRED FORTY-SEVENTH OMNIBUS OBJECTION (SUBSTANTIVE) OF
  THE COMMONWEALTH OF PUERTO RICO, THE PUERTO RICO HIGHWAYS AND
  TRANSPORTATION AUTHORITY AND THE EMPLOYEES RETIREMENT SYSTEM
    OF THE GOVERNMENT OF THE COMMONWEALTH OF PUERTO RICO TO
               MISCLASSIFIED AND OVERSTATED CLAIMS




  1
      The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
      and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
      the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK
      3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing
      Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal
      Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
      Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
      Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
      (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto
      Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four
      Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”, and
      together with the Commonwealth, COFINA, HTA, ERS, and PREPA, the “Debtors”)
      (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III
      case numbers are listed as Bankruptcy Case numbers due to software limitations).
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  To the Honorable United States District Court Judge Laura Taylor Swain:

            The Commonwealth of Puerto Rico (the “Commonwealth”), the Puerto Rico Highways

  and Transportation Authority (“HTA”), and the Employees Retirement System of the Government

  of the Commonwealth of Puerto Rico (“ERS,” and together with the Commonwealth and HTA,

  the “Debtors”), by and through the Financial Oversight and Management Board for Puerto Rico

  (the “Oversight Board”), as sole Title III representative pursuant to section 315(b) of the Puerto

  Rico Oversight, Management, and Economic Stability Act (“PROMESA”), 2 files this three

  hundred forty-seventh omnibus objection (the “Three Hundred Forty-Seventh Omnibus

  Objection”) to the misclassified and overstated proofs of claim listed on Exhibit A hereto, and in

  support of the Three Hundred Forty-Seventh Omnibus Objection, respectfully represent as

  follows:

                                          JURISDICTION

            1.    The United States District Court for the District of Puerto Rico has subject matter

  jurisdiction to consider this matter and the relief requested herein pursuant to PROMESA section

  306(a).

            2.    Venue is proper in this district pursuant to PROMESA section 307(a).

                                          BACKGROUND

  A.        The Bar Date Orders

            3.    On May 3, 2017, the Oversight Board issued a restructuring certification pursuant

  to PROMESA sections 104(j) and 206 and filed a voluntary petition for relief for the

  Commonwealth of Puerto Rico (the “Commonwealth”) pursuant to PROMESA section 304(a),

  commencing a case under Title III thereof (the “Commonwealth Title III Case”). On May 21,


  2
      PROMESA is codified at 48 U.S.C. §§ 2101-2241.


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  2017, the Oversight Board issued restructuring certifications pursuant to PROMESA sections

  104(j) and 206 and filed voluntary petitions for relief for HTA and ERS pursuant to PROMESA

  section 304(a), commencing a case under Title III thereof (respectively, the “HTA Title III Case”

  and the “ERS Title III Case,” and together with the Commonwealth Title III Case, the “Title III

  Cases”). On June 29, 2017, the Court entered an order granting the joint administration of the

  Title III Cases for procedural purposes only. ECF No. 537. 3

           4.     On January 16, 2018, the Debtors filed their Motion for Order (A) Establishing

  Deadlines and Procedures for Filing Proofs of Claim and (B) Approving Form and Manner of

  Notice Thereof [ECF No. 2255] (the “Bar Date Motion”). By the Order (A) Establishing Deadlines

  and Procedures for Filing Proofs of Claims and (B) Approving Form and Manner of Notice

  Thereof [ECF No. 2521] (the “Initial Bar Date Order”), the Court granted the relief requested in

  the Bar Date Motion and established deadlines and procedures for filing proofs of claim in the

  Title III Cases. Upon the informative motion of certain creditors, and the support of the Debtors,

  the Court subsequently entered the Order (A) Extending Deadlines for Filing Proofs of Claim and

  (B) Approving Form and Manner of Notice Thereof [ECF No. 3160] (together with the Initial Bar

  Date Order, the “Bar Date Orders”) extending these deadlines to June 29, 2018 at 4:00 pm (Atlantic

  Time).

  B.       Proofs of Claim, Omnibus Objection Procedures, and Claim Objections

           5.     To date, approximately 179,420 proofs of claim have been filed against the Debtors

  and logged by Prime Clerk, LLC. Such proofs of claim total approximately $43.59 trillion in

  asserted claims against the Debtors, in addition to unliquidated amounts asserted.



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      Unless otherwise stated herein, ECF citations refer to documents filed in Bankruptcy Case No.
      17 BK 3283-LTS.


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         6.      Of the proofs of claim filed, approximately 116,160 have been filed in relation to,

  or reclassified to be asserted against, the Commonwealth. Approximately 53,022 proofs of claim

  have been filed in relation to, or reclassified to be asserted against, ERS.           Additionally,

  approximately 2,260 proofs of claim have been filed in relation to, or reclassified to be asserted

  against, HTA. In accordance with the terms of the Bar Date Orders, many of these claims need

  not have been filed at all, or suffer from some other flaw, such as being subsequently amended,

  not putting forth a claim for which the Debtors are liable, being duplicative of other proofs of

  claim, failing to provide information necessary for the Debtors to determine whether the claim is

  valid, or asserting an incorrect or improper priority or classification.

         7.      In order to efficiently resolve as many of the unnecessary proofs of claim as

  possible, on October 16, 2018, the Debtors filed with this Court their Motion for Entry of an Order

  (A) Approving Limited Omnibus Objection Procedures, (B) Waiving the Requirement of

  Bankruptcy Rule 3007(e)(6), and (C) Granting Related Relief [ECF No. 4052] (the “Omnibus

  Procedures Motion”). The Court granted the relief requested in the Omnibus Procedures Motion

  by order dated November 14, 2018. See Order (A) Approving Limited Omnibus Objection

  Procedures, (B) Waiving the Requirement of Bankruptcy Rule 3007(e)(6), and (C) Granting

  Related Relief [ECF No. 4230]; Omnibus Objection Procedures [ECF No. 4230-1] (collectively,

  the “Initial Omnibus Objection Procedures”). On November 29, 2018, the Court approved English

  and Spanish versions of the forms of notice for omnibus objections to be filed in accordance with

  the Initial Omnibus Objection Procedures. See Order Approving the English and Spanish Versions

  of the Form of Notice for Omnibus Objections [ECF No. 4381] (the “Notice Order”).

         8.      In the continued interest of resolving any unnecessary proofs of claim in an efficient

  manner, on May 23, 2019, the Debtors filed an amended procedures motion seeking, among other




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  things, to allow the Debtors to file omnibus objections on substantive bases, to further expand the

  number of claims that may be included on an objection, to approve additional forms of notice, and

  to object to claims asserting an improper or incorrect priority or classification. Notice of Hearing

  with Respect to an Order (A) Approving Amended Omnibus Objection Procedures, (B) Waiving

  Requirements of Bankruptcy Rule 3007(e), (C) Approving Additional Forms of Notice, and (D)

  Granting Related Relief [ECF No. 7091]. On June 14, 2019, the Court granted the requested relief,

  by the Order (A) Approving Amended Omnibus Objection Procedures, (B) Waiving Requirements

  of Bankruptcy Rule 3007(e), (C) Approving Additional Forms of Notice, and (D) Granting Related

  Relief [ECF No. 7440] (the “Amended Omnibus Objection Procedures”).

         9.      Pursuant to the Initial Omnibus Objection Procedures and Amended Omnibus

  Objection Procedures, to date the Court has held over 14 hearings related to over 140 omnibus

  objections filed by the Commonwealth, the Puerto Rico Sales Tax Financing Corporation

  (“COFINA”), HTA, the Puerto Rico Electric Power Authority (“PREPA”), and/or ERS. Based

  upon rulings and orders of the Court to date, approximately 101,019 claims asserting $43.59

  trillion in liability against the Commonwealth, COFINA, HTA, PREPA, and ERS have been

  disallowed and expunged from the claims registry in the Title III proceedings.

         10.     This Three Hundred Forty-Seventh Omnibus Objection is filed in accordance with

  the Court’s Amended Omnibus Objection Procedures.

                             OBJECTIONS TO PROOFS OF CLAIM

         11.     The Amended Omnibus Objection Procedures allow the Debtor to file an omnibus

  objection to multiple proofs of claim on any basis provided for in Federal Rule of Bankruptcy




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  Procedure 3007(d)(1)-(7), as well as on other substantive bases set forth in the Amended Omnibus

  Objection Procedures.

         12.     The Three Hundred Forty-Seventh Omnibus Objection seeks to reclassify, in

  accordance with Federal Rule of Bankruptcy Procedure 3007(d)(8) and the Amended Omnibus

  Objection Procedures, claims that assert an incorrect or improper classification and that, as a result

  of the manner in which Prime Clerk, LLC, records and logs proof of claim, are overstated on the

  claims registry in the Title III Cases.

         13.     As set forth in Exhibit A hereto, the claims identified in the column titled “Claims

  to be Reclassified” (each a “Claim to Be Reclassified,” and collectively, the “Claims to Be

  Reclassified”) incorrectly or improperly assert that they are secured and/or that they are entitled to

  administrative expense priority pursuant to 11 U.S.C. § 503(b)(9). Upon a reasonable review of

  the Debtors’ books and records, the Debtors have concluded that the Claims to Be Reclassified are

  not entitled to either administrative expense priority or secured status, and should appropriately be

  classified as general unsecured claims.

         14.     Certain of the Claims to Be Reclassified assert entitlement to administrative

  expense priority pursuant to 11 U.S.C. § 503(b)(9) (the “Incorrect Administrative Expense

  Claims”), but the proof of claim and supporting documentation do not demonstrate claimant’s

  entitlement to such priority. Only creditors who sold goods to the Debtors within twenty days of

  the commencement of the Debtors’ Title III Cases are entitled to administrative expense priority

  pursuant to 11 U.S.C. § 503(b)(9). Based on the supporting documentation submitted with the

  proofs of claim, however, none of the Incorrect Administrative Expense Claims were filed by

  creditors who sold goods within the required statutory time frame of twenty days prior to

  commencement of the Debtors’ Title III Cases.             For example, certain of the Incorrect




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  Administrative Expense Claims were filed by individual employees of the Commonwealth, its

  agencies, or its instrumentalities, or unions representing Commonwealth employees, asserting

  liabilities arising from the individual employees’ employment by the Commonwealth. Other

  Incorrect Administrative Expense Claims assert liabilities associated with either pending

  litigations against the Debtors, or with allegedly unpaid judgments and settlements.

         15.     Certain other Claims to Be Reclassified assert secured status (the “Incorrect

  Secured Status Claims”), but the proof of claim and supporting documentation provide no basis

  for the claimant’s assertion that their claim is secured. For example, certain of the Incorrect

  Secured Status Claims were filed by individual employees of the Commonwealth, its agencies, or

  its instrumentalities, asserting liabilities arising from the individual employees’ employment by

  the Commonwealth. Other Incorrect Secured Status Claims assert liabilities associated with either

  pending litigations against the Debtors, or with allegedly unpaid judgments and settlements. Still

  other Incorrect Secured Status Claims assert (i) allegedly unpaid obligations arising from lease

  agreements, or (ii) liabilities associated with contracts to provide services, not goods.

         16.     In addition, because of the manner in which Prime Clerk, LLC records and logs

  proofs of claim, each of the Claims to Be Reclassified is overstated on the claims registry. Box 8

  of the proof of claim form requests claimants provide the total amount of the claim. Other portions

  of the claim form allow claimants to indicate whether they believe all or a portion of their claims

  are entitled to secured status or priority. For example, Box 7 of the proof of claim form allows

  claimants to indicate whether they supply goods and/or services to the government, and if so,

  whether any amounts were due to claimant for the period between the Debtors’ petition date and

  June 30, 2017; Box 10 allows claimants to indicate whether they believe all or a part of their claim

  is secured, and if so, the amount of the claim that is secured and the amount that is unsecured; and




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  Box 13 allows claimants to indicate whether all or part of the claim is entitled to administrative

  priority pursuant to 11 U.S.C. § 503(b)(9), and if so, the amount of the claim entitled to

  administrative priority treatment. In each instance of the Claims to Be Reclassified, the claimant

  entered the total amount they believe is owed in Box 8, but also entered the total amount owed in

  Boxes 7, 10, and/or 13. When Prime Clerk, LLC logged the Claims to Be Reclassified on the Title

  III claims registry, it interpreted each amount entered in Boxes 7, 8, 10, and/or 13 as a separate

  assertion of liability. As a result, the claims registry reflects that each of the Claims to Be

  Reclassified assert an amount that is double or triple the actual liabilities asserted in the proof of

  claim, as demonstrated by the total amount identified by the applicable claimant in Box 8.

  Accordingly, the Debtors request the Court reduce the Claims to Be Reclassified such that they

  assert only the total liabilities identified by the applicable claimant, as set forth in Exhibit A hereto.

  Failure to reduce the Claims to Be Reclassified will prejudice other claimants in these Title III

  Case, as holders of the Claims to Be Reclassified may receive an unwarranted excess recovery

  above the liabilities actually asserted. Further, holders of the Claims to Be Reclassified will not

  be prejudiced by the requested relief, because they will retain a claim against the Debtors in the

  total amount indicated by claimants on their proofs of claim.

          17.     Accordingly, because the Claims to Be Reclassified do not provide a basis for either

  administrative expense priority, or secured status, the claims should be reclassified as general

  unsecured claims, and the amounts of the Claims to Be Reclassified should be reduced to reflect

  the actual total liabilities asserted on the proof of claim, each as set forth in Exhibit A hereto.

  Reclassification of the Claims to Be Reclassified is necessary to avoid prejudicing other holders

  of general unsecured claims. The holders of the Claims to Be Reclassified will retain a modified

  reduced claim against the Debtors, as set for the in the column entitled “Modified Reduced Claim”




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  on Exhibit A hereto. Because this Three Hundred Forty-Seventh Omnibus Objection to the

  Claims to Be Reclassified does not constitute an objection to the validity or amount of the Claims

  to Be Reclassified, the Debtors reserve their right to object to the Claims to Be Reclassified on any

  other grounds whatsoever.

         18.     In support of the foregoing, the Debtors rely on the Declaration of Jay Herriman

  in Support of the Three Hundred Forty-Seventh Omnibus Objection (Substantive) of the

  Commonwealth of Puerto Rico, Puerto Rico Highways and Transportation Authority, and

  Employees Retirement System of the Government of the Commonwealth of Puerto Rico to

  Misclassified and Overstated Claims, dated June 18, 2021, attached hereto as Exhibit B.

                                               NOTICE

         19.     In accordance with the Omnibus Objection Procedures and the Court’s Notice

  Order, the Debtor has provided notice of this Three Hundred Forty-Seventh Omnibus Objection

  to (a) the individual creditors subject to this Three Hundred Forty-Seventh Omnibus Objection,

  (b) the U.S. Trustee, and (c) the Master Service List (as defined by the Fourteenth Amended Case

  Management Procedures [ECF No. 15894-1]), which is available on the Debtor’s case website at

  https://cases.primeclerk.com/puertorico. A copy of the notice for this Three Hundred Forty-

  Seventh Omnibus Objection is attached hereto as Exhibit C. Spanish translations of the Three

  Hundred Forty-Seventh Omnibus Objection and all of the exhibits attached hereto are being filed

  with this objection and will be served on the parties. The Debtors submit that, in light of the nature

  of the relief requested, no other or further notice need be given.


                                       NO PRIOR REQUEST

         20.     No prior request for the relief sought in this Three Hundred Forty-Seventh Omnibus

  Objection has been made to this or any other court.



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                      [Remainder of page intentionally left blank.]




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          WHEREFORE the Debtors respectfully request entry of an order, substantially in the form

of the Proposed Order attached hereto as Exhibit D, (1) granting the relief requested herein, and (2)

granting the Debtors such other and further relief as is just.


  Dated: June 18, 2021                                           Respectfully submitted,
         San Juan, Puerto Rico

                                                                 /s/ Hermann D. Bauer
                                                                 Hermann D. Bauer
                                                                 USDC No. 215205
                                                                 Carla García-Benítez
                                                                 USDC No. 203708
                                                                 Gabriel A. Miranda
                                                                 USDC No. 306704
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                                                                 /s/ Martin J. Bienenstock
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                                                                 Brian S. Rosen (pro hac vice)
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                                                                 Attorneys for the Financial
                                                                 Oversight and Management Board
                                                                 for Puerto Rico, as representative for
                                                                 the Commonwealth of Puerto Rico,
                                                                 the Puerto Rico Highways and
                                                                 Transportation Authority, and the
                                                                 Employees Retirement System of the
                                                                 Government of the Commonwealth of
                                                                 Puerto Rico




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                  Fecha límite para responder: 19 de julio de 2021, a las 4:00 p.m. (AST)
                             Fecha de la vista: 4 de agosto de 2021, a las 9:30 a.m. (AST)
           REVISE DETENIDAMENTE LA PRESENTE OBJECIÓN Y LOS DOCUMENTOS
              ADJUNTOS PARA DETERMINAR SI LA OBJECIÓN AFECTA A SU(S)
                                RECLAMACIÓN(ES).


                     TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                          PARA EL DISTRITO DE PUERTO RICO

  In re:                                                           PROMESA
                                                                   Título III
  JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
  FINANCIERA PARA PUERTO RICO,                                     Núm. 17 BK 3283-LTS
            como representante del                                 (Administrado Conjuntamente)
  ESTADO LIBRE ASOCIADO DE PUERTO RICO et
  al.,                                                             La presente radicación guarda
                                                                   relación con el ELA, el SRE y la
                                      Deudores. 1                  ACT.


  TRICENTÉSIMA CUADRAGÉSIMA SÉPTIMA OBJECIÓN GLOBAL (SUSTANTIVA)
    DEL ESTADO LIBRE ASOCIADO DE PUERTO RICO, DE LA AUTORIDAD DE
    CARRETERAS Y TRANSPORTACIÓN DE PUERTO RICO Y DEL SISTEMA DE
  RETIRO DE LOS EMPLEADOS DEL GOBIERNO DEL ESTADO LIBRE ASOCIADO
    DE PUERTO RICO A RECLAMACIONES ERRÓNEAMENTE CLASIFICADAS Y
                          SOBREESTIMADAS

  1
      Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
      Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de
      cada Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de
      Quiebra Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva
      federal: 3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA")
      (Caso de Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación
      contributiva federal: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la
      "ACT") (Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación
      contributiva federal: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado
      Libre Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos
      cuatro dígitos de la identificación contributiva federal: 9686); v) la Autoridad de Energía
      Eléctrica de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro
      dígitos de la identificación contributiva federal: 3747); y vi) la Autoridad de Edificios Públicos
      de Puerto Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los
      "Deudores") (Caso de Quiebra Núm. 19-BK-5523-LTS) (Últimos cuatro dígitos de la
      identificación contributiva federal: 3801) (Los números de los casos de Título III están
      enumerados como números de Casos de Quiebra debido a ciertas limitaciones en el programa
      informático).
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  A la atención de su señoría, Juez del Tribunal de Distrito de los Estados Unidos, Laura Taylor

  Swain:

           El Estado Libre Asociado de Puerto Rico (el "ELA"), el Sistema de Retiro de los

  Empleados del Gobierno del Estado Libre Asociado de Puerto Rico (el "SRE") y la Autoridad de

  Carreteras y Transportación de Puerto Rico (la "ACT", y junto con el ELA y el SRE, los

  "Deudores"), a través de la Junta de Supervisión y Administración Financiera para Puerto Rico (la

  "Junta de Supervisión"), como el único representante de Título III conforme a la sección 315(b)

  de la Ley para la Supervisión, Administración y Estabilidad Económica de Puerto Rico

  ("PROMESA"), 2 radican esta tricentésima cuadragésima séptima objeción global (la

  "Tricentésima cuadragésima séptima objeción global") a las evidencias de reclamaciones

  erróneamente clasificadas y sobreestimadas que aparecen en el Anexo A del presente documento,

  y en apoyo de la Tricentésima cuadragésima séptima objeción global manifiestan respetuosamente

  lo siguiente:

                                           JURISDICCIÓN

           1.     El Tribunal de Distrito de los Estados Unidos para el Distrito de Puerto Rico tiene

  jurisdicción sobre la materia para atender la presente causa y el remedio en ella solicitado conforme

  a la sección 306(a) de PROMESA.

           2.     La sede judicial de este distrito es la competente conforme a la sección 307(a) de

  PROMESA.

                                         ANTECEDENTES

  A.       Órdenes de Fecha Límite




  2
      PROMESA ha sido codificada en el título 48 U.S.C., §§ 2101 a 2241.


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           3.    El 3 de mayo de 2017, la Junta de Supervisión emitió una certificación de

  reestructuración conforme a las secciones 104(j) y 206 de PROMESA, y radicó una petición

  voluntaria de remedio para el Estado Libre Asociado de Puerto Rico (el "ELA") conforme a la

  sección 304(a) de PROMESA, iniciando un caso conforme al Título III de dicho cuerpo legal (el

  "Caso de Título III del ELA"). El 21 de mayo de 2017, la Junta de Supervisión emitió una

  certificación de reestructuración conforme a las secciones 104(j) y 206 de PROMESA, y radicó

  una petición voluntaria de remedio para la ACT y el SRE conforme a la sección 304(a) de

  PROMESA, iniciando un caso conforme al Título III de dicho cuerpo legal (respectivamente, el

  “Caso de Titulo III la ACT” y el "Caso de Título III del SRE", y junto con el Caso de Título III

  del ELA, los "Casos de Título III"). El 29 de junio de 2017, el Tribunal dictó una orden por la que

  concedió la administración conjunta de los Casos de Título III únicamente con fines procesales.

  ECF núm. 537. 3

           4.    El 16 de enero de 2018, los Deudores radicaron su Moción de una orden que A) fije

  fechas límite y procedimientos para radicar evidencias de reclamaciones y B) apruebe la forma y

  la manera de su notificación [ECF núm. 2255] (la "Moción de Fecha Límite"). Por la Orden que

  A) fija fechas límite y procedimientos para radicar evidencias de reclamaciones y B) aprueba la

  forma y la manera de su notificación [ECF núm. 2521] (la "Orden Inicial de Fecha Límite"), el

  Tribunal concedió el remedio solicitado en la Moción de Fecha Límite y fijó fechas límite y

  procedimientos para radicar evidencias de reclamaciones en el marco de los Casos de Título III.

  Luego de la moción informativa de determinados acreedores, y del apoyo de los Deudores, el

  Tribunal dictó a continuación la Orden que A) extendió fechas límite para radicar evidencias de



  3
       Salvo disposición en contrario contenida en el presente documento, las citas ECF harán
      referencia a documentos radicados en el marco del Caso de Quiebra Núm. 17 BK 3283-LTS.


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  reclamaciones y B) aprobó la forma y la manera de su notificación [ECF núm. 3160]

  (conjuntamente con la Orden Inicial de Fecha Límite, las "Órdenes de Fecha Límite"), extendiendo

  dichas fechas límite hasta el 29 de junio de 2018, a las 04:00 p.m. (AST).

  B.     Evidencias de reclamaciones, procedimientos relativos a objeciones globales y

  objeciones a reclamaciones

         5.      Hasta la fecha, se han radicado aproximadamente 179,420 evidencias de

  reclamaciones contra los Deudores, que han sido registradas por Prime Clerk, LLC. Dichas

  evidencias de reclamaciones ascienden a un total aproximado de $43.59 billones en reclamaciones

  radicadas contra los Deudores, además de los montos no liquidados reclamados.

         6.      De las evidencias de reclamaciones radicadas, aproximadamente 116,160 han sido

  radicadas en relación con el ELA, o reclasificadas como radicadas contra el ELA.

  Aproximadamente 53,022 evidencias de reclamaciones han sido radicadas en relación con el SRE,

  o reclasificadas como radicadas contra el SRE. Más de 2,260 evidencias de reclamaciones han sido

  radicadas en relación con la ACT, o reclasificadas como radicadas contra la ACT. De conformidad

  con las condiciones de las Órdenes de Fecha Límite, muchas de estas reclamaciones no tenían que

  haber sido radicadas en absoluto o adolecen de otro tipo de vicios; por ejemplo, haber sido

  enmendadas posteriormente, no alegar una reclamación por la que los Deudores sean responsables,

  estar duplicadas en relación con otras evidencias de reclamaciones, no aportar información

  necesaria para que los Deudores determinen si la reclamación es válida o alegar una prioridad o

  clasificación incorrecta o indebida.

         7.      Para resolver eficazmente el mayor número posible de las evidencias de

  reclamaciones innecesarias, el 16 de octubre de 2018 los Deudores radicaron ante este Tribunal su

  Moción para que se dicte una orden que A) apruebe procedimientos limitados relativos a




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  objeciones globales, B) exima el requisito contenido en la regla 3007(e)(6) de las Reglas de

  Quiebras, y C) conceda el remedio relacionado [ECF núm. 4052] (la "Moción de Procedimientos

  Globales"). El Tribunal concedió el remedio solicitado en la Moción de Procedimientos Globales

  mediante la orden de fecha 14 de noviembre de 2018. Véase la Orden que A) aprueba

  procedimientos limitados relativos a objeciones globales, B) exime el requisito contenido en la

  regla 3007(e)(6) de las Reglas de Quiebras, y C) concede el remedio relacionado [ECF núm.

  4230]; Procedimientos relativos a Objeciones Globales [ECF núm. 4230-1] (conjuntamente, los

  "Procedimientos Iniciales relativos a Objeciones Globales"). El 29 de noviembre de 2018, el

  Tribunal aprobó las versiones en inglés y en español de los formularios de notificación relativos a

  las objeciones globales a efectos de radicarlas de conformidad con los Procedimientos Iniciales

  relativos a Objeciones Globales. Véase Orden por la que se aprobaron las versiones en inglés y

  en español de los formularios de notificación relativos a objeciones globales [ECF núm. 4381] (la

  "Orden de Notificación").

         8.      En aras del interés constante de resolver eficazmente cualesquiera evidencias de

  reclamaciones innecesarias, el 23 de mayo de 2019 los Deudores radicaron una moción relativa a

  procedimientos enmendados en la que solicitaron, entre otras cosas, que se les permitiera radicar

  objeciones globales sobre unas bases sustantivas, aumentar el número de reclamaciones que

  pudieran incluirse en una objeción, aprobar formas de notificación adicionales y objetar a las

  reclamaciones que afirmen una prioridad o clasificación indebida o incorrecta. Notificación de

  vista en relación con una Orden que A) apruebe Procedimientos Enmendados relativos a

  Objeciones Globales, B) exima los requisitos contenidos en la regla 3007(e) de las Reglas de

  Quiebras, C) apruebe formas de notificación adicionales y D) conceda el remedio relacionado

  [ECF núm. 7091]. El 14 de junio de 2019, el Tribunal concedió el remedio solicitado por medio




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  de la Orden que A) aprueba Procedimientos Enmendados relativos a Objeciones Globales, B)

  exime los requisitos contenidos en la regla 3007(e) de las Reglas de Quiebras, C) aprueba formas

  de notificación adicionales y D) concede el remedio relacionado [ECF núm. 7440] (los

  "Procedimientos Enmendados relativos a Objeciones Globales").

         9.      Conforme a los Procedimientos Iniciales relativos a Objeciones Globales y los

  Procedimientos Enmendados relativos a Objeciones Globales, el Tribunal ha celebrado hasta la

  fecha más de 14 vistas vinculadas con más de 140 objeciones globales radicadas por el ELA, la

  Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA"), lACT, la Autoridad

  de Energía Eléctrica de Puerto Rico (la "AEE") y/o el SRE. Sobre la base de las resoluciones y

  órdenes del Tribunal dictadas hasta la fecha, aproximadamente 101,019 reclamaciones que

  reivindicaban $43.59 billones en responsabilidad contra el ELA, COFINA, la ACT, la AEE y el

  SRE fueron rechazadas y retiradas del registro de reclamaciones en el marco de los procedimientos

  radicados conforme al Título III.

         10.     Esta Tricentésima cuadragésima séptima objeción global se radica de conformidad

  con los Procedimientos Enmendados relativos a Objeciones Globales del Tribunal.

                   OBJECIONES A EVIDENCIAS DE RECLAMACIONES

         11.     Los Procedimientos Enmendados relativos a Objeciones Globales permiten al

  Deudor radicar una objeción global a varias evidencias de reclamaciones sobre cualquiera de las

  bases recogidas en las reglas 3007(d)(1) a (7) de las Reglas Federales del Procedimiento de

  Quiebra (Federal Rule of Bankruptcy Procedure), así como sobre otras bases sustantivas

  establecidas en los Procedimientos Enmendados relativos a Objeciones Globales.

         12.     La Tricentésima cuadragésima séptima objeción global pretende que se

  reclasifiquen reclamaciones que afirman una clasificación incorrecta o indebida, de conformidad

  con la regla 3007(d)(8) de las Reglas Federales del Procedimiento de Quiebra y los Procedimientos


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  Enmendados relativos a Objeciones Globales, y que, como resultado de la forma en la que Prime

  Clerk, LLC anota y registra las evidencias de reclamaciones, están sobreestimadas en el registro

  de reclamaciones en el marco de los Casos de Título III.

         13.     Como se indica en el Anexo A del presente documento, las reclamaciones

  identificadas en la columna titulada "Reclamaciones que han de ser reclasificadas" (cada una

  denominada una "Reclamación que ha de ser reclasificada" y conjuntamente, las "Reclamaciones

  que han de ser reclasificadas") alegan incorrecta o indebidamente que están garantizadas y/o que

  tienen derecho a la prioridad de gastos administrativos de conformidad con el Título 11. U.S.C., §

  503(b)(9). Tras una revisión razonable de los libros y registros de los Deudores, estos últimos han

  llegado a la conclusión de que las Reclamaciones que han de ser reclasificadas no tienen derecho

  ni a la prioridad de gastos administrativos ni al estatus garantizado, y deben ser clasificadas

  apropiadamente como reclamaciones generales no garantizadas.

         14.     Algunas de las Reclamaciones que han de ser reclasificadas alegan tener derecho a

  la prioridad de gastos administrativos de acuerdo con el Título 11 U.S.C., § 503(b)(9) (las

  "Reclamaciones incorrectas de gastos administrativos"), pero la evidencia de reclamación y la

  documentación justificativa no demuestran el derecho del reclamante a dicha prioridad. Solo los

  acreedores que vendieron bienes a los Deudores dentro de un plazo de 20 días antes del inicio de

  los Casos de Título III de los Deudores tienen derecho a la prioridad de gastos administrativos de

  acuerdo con el Título 11 U.S.C., § 503(b)(9). Sin embargo, según la documentación justificativa

  sometida con la evidencia de reclamación, ninguna de las Reclamaciones incorrectas de gastos

  administrativos fue radicada por acreedores que vendieron bienes dentro del plazo legalmente

  establecido de 20 días antes del inicio de los Casos de Título III de los Deudores. Por ejemplo,

  algunas de las Reclamaciones incorrectas de gastos administrativos fueron radicadas por




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  empleados individuales del ELA, sus agencias o sus instrumentalidades, o por sindicatos que

  representan a los empleados del ELA, alegando responsabilidades derivadas del empleo de los

  empleados individuales en el ELA. Otras Reclamaciones de gastos administrativos incorrectas

  alegan responsabilidades asociadas con litigios pendientes contra los Deudores, o con sentencias

  y acuerdos supuestamente no pagados.

         15.     Algunas otras Reclamaciones que han de ser reclasificadas alegan estar

  garantizadas (las "Reclamaciones incorrectas de estatus garantizado"), pero la evidencia de

  reclamación y la documentación justificativa no proporcionan fundamento alguno para la

  afirmación del reclamante de que su reclamación está garantizada. Por ejemplo, algunas de las

  Reclamaciones incorrectas de estatus garantizado fueron radicadas por empleados individuales del

  ELA, sus agencias o sus instrumentalidades, alegando responsabilidades derivadas del empleo de

  los empleados individuales en el ELA. Otras Reclamaciones incorrectas de estatus garantizado

  alegan responsabilidades asociadas con litigios pendientes contra los Deudores, o con sentencias

  y acuerdos supuestamente no pagados. Y otras Reclamaciones incorrectas de estatus garantizado

  alegan i) obligaciones supuestamente no pagadas que surgen de unos acuerdos de arrendamiento,

  o ii) responsabilidades vinculadas con unos contratos de provisión de servicios, no de productos.

         16.     Además, debido a la forma en la que Prime Clerk, LLC anota y registra las

  evidencias de reclamaciones, cada una de las Reclamaciones que han de ser reclasificadas está

  sobreestimada en el registro de reclamaciones. La Casilla 8 del formulario de la evidencia de

  reclamación pide que los reclamantes proporcionen el monto total de la reclamación. Otras partes

  del formulario de reclamación permiten a los reclamantes indicar si consideran que toda o parte de

  sus reclamaciones tienen derecho al estatus garantizado o a la prioridad. Por ejemplo, la Casilla 7

  del formulario de la evidencia de reclamación permite a los reclamantes indicar si proveen




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  productos y/o servicios al Gobierno, y de ser así, si se adeudaba algún monto al reclamante por el

  período entre la fecha de petición de los Deudores y el 30 de junio de 2017; la Casilla 10 permite

  a los reclamantes indicar si consideran que toda o parte de su reclamación está garantizada, y de

  ser así, el monto de la reclamación que está garantizado y el monto que no lo está; y la Casilla 13

  permite a los reclamantes indicar si toda o parte de la reclamación tiene derecho a prioridad

  administrativa conforme al Título 11 U.S.C., § 503(b)(9), y de ser así, el monto de la reclamación

  que tiene derecho al tratamiento de prioridad administrativa. En cada caso de las Reclamaciones

  que han de ser reclasificadas, el reclamante introdujo en la Casilla 8 el monto total que consideraba

  que se le adeudaba, pero también introdujo el monto total adeudado en las Casillas 7, 10 y/o 13.

  Cuando Prime Clerk, LLC registró las Reclamaciones que han de ser reclasificadas en el registro

  de reclamaciones de Título III, interpretó cada monto introducido en las Casillas 7, 8, 10 y/o 13

  como alegaciones de responsabilidad apartes. En consecuencia, el registro de reclamaciones refleja

  que cada una de las Reclamaciones que han de ser reclasificadas alega un monto que está duplicado

  o triplicado con respecto a las responsabilidades reales alegadas en la evidencia de reclamación,

  según se demuestra por el monto total que el reclamante en cuestión identifica en la Casilla 8. Por

  lo tanto, los Deudores solicitan que el Tribunal reduzca las Reclamaciones que han de ser

  reclasificadas de tal manera que solo aleguen las responsabilidades totales identificadas por el

  reclamante en cuestión, según se establece en el Anexo A del presente documento. Si las

  Reclamaciones que han de ser reclasificadas no se reducen, ello perjudicaría a otros reclamantes

  en el marco de estos Casos de Título III, puesto que los titulares de las Reclamaciones que han de

  ser reclasificadas podrían recibir una recuperación excesiva no justificada por encima de las

  responsabilidades realmente alegadas. Además, los titulares de las Reclamaciones que han de ser

  reclasificadas no se verán perjudicados por el remedio solicitado, ya que mantendrán una




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  reclamación contra los Deudores por el monto total indicado por los reclamantes en sus evidencias

  de reclamaciones.

           17.   En consecuencia, puesto que las Reclamaciones que han de ser reclasificadas no

  proporcionan fundamento alguno para la prioridad de gastos administrativos o el estatus

  garantizado, las reclamaciones deben ser reclasificadas como reclamaciones generales no

  garantizadas, y los montos de las Reclamaciones que han de ser reclasificadas deben reducirse para

  que reflejen las responsabilidades totales reales alegadas en la evidencia de reclamación, cada una

  de ellas como se establece en el Anexo A del presente documento. La reclasificación de las

  Reclamaciones que han de ser reclasificadas es necesaria para no perjudicar a otros titulares de

  reclamaciones generales no garantizadas. Los titulares de las Reclamaciones que han de ser

  reclasificadas mantendrán una reclamación modificada reducida contra los Deudores, tal y como

  se establece en la columna titulada "Reclamación Modificada Reducida" del Anexo A del presente

  documento. Puesto que esta Tricentésima cuadragésima séptima objeción global a las

  Reclamaciones que han de ser reclasificadas no constituye una objeción a la validez o al monto de

  las Reclamaciones que han de ser reclasificadas, los Deudores se reservan el derecho a oponerse a

  las Reclamaciones que han de ser reclasificadas sobre la base de cualesquiera otros motivos que

  fuere.

           18.   En apoyo de lo anterior, los Deudores invocan la Declaración de Jay Herriman en

  apoyo de la Tricentésima cuadragésima séptima objeción global (sustantiva) del Estado Libre

  Asociado de Puerto Rico, la Autoridad de Carreteras y Transportación de Puerto Rico y Sistema

  de Retiro de los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico a

  Reclamaciones erróneamente clasificadas y sobreestimadas, de fecha 18 de junio de 2021, adjunta

  al presente como Anexo B.




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                                         NOTIFICACIÓN

         19.     De conformidad con los Procedimientos relativos a Objeciones Globales y la Orden

  de Notificación del Tribunal, el Deudor ha notificado la presente Tricentésima cuadragésima

  séptima objeción global a) a los acreedores individuales objeto de esta Tricentésima cuadragésima

  séptima objeción global, b) al U.S. Trustee, y c) a la Lista maestra de notificaciones (según se

  define en los Procedimientos de administración de casos enmendados núm. 14 [ECF núm. 15894-

  1]), disponibles en el sitio web de casos del Deudor, en https://cases.primeclerk.com/puertorico.

  Una copia de la notificación relativa a esta Tricentésima cuadragésima séptima objeción global se

  adjunta al presente como Anexo C. Las traducciones al español de la Tricentésima cuadragésima

  séptima objeción global y de la totalidad de los anexos adjuntos al presente se están radicando con

  esta objeción y se trasladarán a las partes. Los Deudores sostienen que, dada la naturaleza del

  remedio solicitado, no es necesario enviar ninguna otra notificación.


                           AUSENCIA DE SOLICITUDES PREVIAS

         20.     No se ha radicado ninguna solicitud de remedio previa a la presente Tricentésima

  cuadragésima séptima objeción global ni ante este Tribunal ni ante ningún otro órgano judicial.



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         POR LO QUE los Deudores solicitan respetuosamente que se dicte una orden,

esencialmente en la forma de la Orden Propuesta que se adjunta al presente como Anexo D, 1) que

conceda el remedio solicitado en el presente documento, y 2) que conceda a los Deudores

cualesquiera otros remedios que se consideren justos.


  Fecha: 18 de junio de 2021                               Respetuosamente sometida,
         San Juan (Puerto Rico)

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                                                           y Transportación de Puerto Rico y
                                                           del Sistema de Retiro de los
                                                           Empleados del Gobierno del Estado
                                                           Libre Asociado de Puerto Rico.




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